Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 1 of 13 Page ID #:5596


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  6   DEPARTMENT, MONICA QUIJANO, RICHARD TAMEZ and
      SCOTT SMITH
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  8
                                  UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      LUIS LORENZO VARGAS,                          CASE NO. CV16-08684 SVW (AFMx)
 12                                                 Hon. Stephen V. Wilson, Ctrm. 10A
                                                    Mag. Alexander F. MacKinnon, Ctrm. H, 9th Fl.
 13                  Plaintiff,
                                                    DEFENDANTS’ OPPOSITION TO
 14         v.                                      PLAINTIFF’S MOTION IN LIMINE
                                                    NO. 2 TO EXCLUDE PRIOR BAD
 15                                                 ACTS; MEMORANDUM OF POINTS
      CITY OF LOS ANGELES, et al.                   AND AUTHORITIES, DECLARATION
 16                                                 OF GEOFFREY PLOWDEN
                     Defendants.
 17                                                 Hearing: 6/10/19
                                                    Time:        1:30 p.m.
 18                                                 Place:       Courtroom 10A
                                                    First Street Courthouse
 19                                                 350 West 1st Street
                                                    Los Angeles, CA 90012-4565
 20
                 TO THE HONORABLE COURT, PLAINTIFF AND HIS COUNSEL
 21
      OF RECORD:
 22
                 Defendants submit the following opposition to Plaintiff’s Motion in Limine
 23
      No. 2 to exclude prior bad acts of plaintiff from the entire trial. For the reasons stated
 24
      herein, plaintiff’s motion should be denied.
 25
                 First, plaintiff’s motion fails to comply with L.R. 7-3, requiring a meet and
 26
      confer seven days prior to the filing of the motion and a statement in the notice of the
 27
      motion the motion was made following the conference of counsel pursuant to L.R. 7-3.
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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 2 of 13 Page ID #:5597



  1            Secondly, plaintiff’s motion, incredibly, seeks to exclude evidence of

  2   plaintiff’s prior rape conviction and incarceration en toto, including from the damages

  3   phase of the trial. In bringing the motion, plaintiff ignored the applicable jury

  4   instruction and well-settled Ninth Circuit authority.

  5            Defendants submit there are numerous reasons why the prior rape conviction

  6   should be admissible, unrelated to plaintiff’s bad character or propensity to commit

  7   crimes. For example, plaintiff’s prior conviction for forcible rape was the reason why

  8   plaintiff was sentenced to such a long sentence (i.e. 55 years to life) and served the

  9   amount of time in custody he did. The prior conviction and sentence, including time

 10   and experience in prison, relate directly to the nature and extent of his damages in this

 11   case, as most jurors have no idea what it is like to be arrested, convicted, sentenced

 12   and serve time in prison.

 13            The fact of the 1992 rape conviction explains why plaintiff would not have
 14   taken the witness stand in his own defense at the 1999 trial, thus critical to this jury’s
 15   determination of “materiality” in this case.
 16            The prior demonstrates a lack of “malice” by the defendants. They didn’t just
 17   pick on some law abiding citizen. Their knowledge of the prior rape conviction also
 18   demonstrates a lack of deliberate indifference on behalf of the defendants. Their states
 19   of mind are part of plaintiff’s punitive damages and Brady claims in this case. An
 20   order granting plaintiff’s motion will result in a verdict based on an incomplete
 21   “picture” of the defendants’ investigation and state of mind.
 22            In short, the priors relate to topics unrelated to plaintiff’s character or
 23   propensity; rather they relate to plaintiff’s damages, materiality, punitive damages and
 24   deliberate indifference. All of these elements are at issue in the case, making the prior
 25   conviction evidence highly relevant. Further, defendant would agree to a limiting jury
 26   instruction, lessening any prejudice to plaintiff.
 27            This opposition is based on the accompanying Memorandum of Points and
 28   Authorities, the accompanying Declaration of Geoffrey Plowden (“Plowden Decl.”)

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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 3 of 13 Page ID #:5598



  1   and any exhibits presented at the hearing on the motion, as well as the Court’s files

  2   and records herein.

  3   Dated: May 20, 2019        MICHAEL N. FEUER, City Attorney
                                 JAMES P. CLARK, Chief Deputy City Attorney
  4                              CORY M. BRENTE, Assistant City Attorney

  5                              By:    /s/ Geoffrey Plowden                  .




                                  GEOFFREY PLOWDEN, Deputy City Attorney
  6
                                 Attorneys for Defendants CITY OF LOS ANGELES,
  7                              LOS ANGELES POLICE DEPARTMENT, MONICA
                                 QUIJANO, RICHARD TAMEZ and SCOTT SMITH
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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 4 of 13 Page ID #:5599



  1                     MEMORANDUM OF POINTS AND AUTHORITIES

  2   I.       INTRODUCTION

  3            The Court is well versed in the facts of the case, as well as the law and motion

  4   which has preceded the trial in this matter. Defendant will point out a few foundational

  5   facts.

  6            Plaintiff was arrested on July 21, 1998. Prior to his arrest, Defendants learned of

  7   plaintiff through a tip from a gang member in the community where some of the

  8   charged crimes had occurred. Prior to Vargas' arrest on July 21, 1998, the defendant

  9   detectives learned that Vargas had suffered a prior conviction for forcible rape in 1992

 10   and had possibly failed to register as a sex offender in accordance with California

 11   Penal Code Section 290. As a result of having learned this information, defendants

 12   obtained a prior booking photograph of Vargas. Plaintiff’s photograph was then shown

 13   to the victims. Afterward, Vargas was initially detained on the failure to register
 14   offense and brought to the station on July 21, 1998. A photograph of Plaintiff was
 15   then taken, placed in a second six-pack (and in a different position therein) and both
 16   Teresa R. and Edith G. selected his photograph a second time. He was then formally
 17   arrested after being identified by the victims using a recent photograph of Vargas. This
 18   information is documented in the officers' chronological record and other related
 19   documents, including the July 21, 1998 arrest report. These documents were placed in
 20   the Serial Rapist Book and provided to the District Attorney. This background
 21   information is how the defendants found the plaintiff. The defendants were not
 22   involved in the prior arrest or conviction of Vargas.
 23            By asserting a section 1983 Brady claim, plaintiff has placed at issue the focus of
 24   the defendants’ investigation, their actions and state of mind during the time period of
 25   1998 to June 26, 2000, as well as his biases, veracity, and claim for compensatory and
 26   exemplary damages. Plaintiff should not be permitted to artificially “sanitize” his very
 27   relevant criminal history. If so, defendants will suffer irreparable prejudice.
 28   ///

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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 5 of 13 Page ID #:5600



  1   II.   PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY

  2         EVIDENCE OF PLAINTIFF’S PRIOR CONVICTION MUST BE

  3         DENIED.

  4         During the trial, plaintiff is expected to testify as a witness. If he testifies, FRE

  5   Rule 609 allows the introduction of his felony prior. Rule 609 states in pertinent part

  6   (emphasis added):

  7          (a) In General. The following rules apply to attacking a witness’s character for
            truthfulness by evidence of a criminal conviction:
  8         (1) for a crime that, in the convicting jurisdiction, was punishable by death or by
  9         imprisonment for more than one year, the evidence:
            (A) must be admitted, subject to Rule 403, in a civil case…
 10         (b) Limit on Using the Evidence After 10 Years… if more than 10 years have
 11         passed since the witness’s conviction or release from confinement for it,
            whichever is later. Evidence of the conviction is admissible only if:
 12         (1) its probative value, supported by specific facts and circumstances,
 13         substantially outweighs its prejudicial effect; and
            (2) the proponent gives an adverse party reasonable written notice of the intent to
 14         use it so that the party has a fair opportunity to contest its use.
 15
            In short, Rule 609(a) provides that any felony conviction may be used to
 16
      impeach a witness, and that such convictions should ordinarily be admitted subject to
 17
      the Rule 403 balancing. Moreover, under Rule 609(b), convictions that are more than
 18
      ten years old may also be used if the probative value of the evidence, under the
 19
      specific facts and circumstances of the case, outweigh it prejudicial effect.
 20
            Defendant submits the probative substantially outweighs its prejudicial effect, for
 21
      the reasons stated below. Any prejudice will be diminished by a limiting instruction
 22
      given to the jury. Defendants have provided plaintiff with written notice of the intent
 23
      to use the prior. Thus, the criteria of Rule 609 has been met.
 24
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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 6 of 13 Page ID #:5601



  1   III. PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY

  2         EVIDENCE OF PLAINTIFF’S PRIOR CONVICTION MUST BE DENIED

  3         AS HIS PRIOR ARREST, CONVICTION AND PRISON TIME ARE

  4         RELEVANT TO HIS DAMAGES IN THIS ACTION.

  5         Irrespective of Rule 609, Federal Rule of Evidence 404(b) states in pertinent

  6   part: “Evidence of other crimes, wrongs or acts … may be admissible for other

  7   purposes…” Plaintiff’s motion in limine incorrectly assumes 404(b) lists all of the

  8   purposes for which such evidence may be admitted (motive, intent, absence of

  9   mistake, etc.). He is wrong. The other purposes listed in this rule do not constitute an

 10   exhaustive list of all the purposes which such evidence may be admitted. See, Udemba

 11   v Nicoli, 237 F.3d 8, 15 (1st Cir. 2001)

 12         The case law supports defendants’ position. See, Green v. Baca, 226 F.R.D.

 13   624, 658 (C.D. Cal. 2005) (wherein the court held that the plaintiff’s prison time and
 14   length thereof were relevant to the jury’s consideration of damages). The Green court
 15   held that the “[p]laintiff’s contention that such evidence will be unduly prejudicial can
 16   be properly addressed by giving an appropriate limiting instruction to the jury.” Id.
 17   See also, Peraza v. Delameter, 722 F.2d 1455, 1457 (9th Cir. 1984) (holding that the
 18   trial court properly admitted evidence of plaintiff's subsequent encounters with the
 19   police as relevant to plaintiff’s claim that he suffered injury to “head, body and
 20   psyche” as a result of the arrest at issue); See also, Lewis v. District of Columbia, 793
 21   F.2d 361 (D.C. Cir. 1986) (evidence of plaintiff’s drug use relevant to extent of
 22   damages.)
 23         Other police contacts, arrests, convictions and incarceration go to plaintiff’s
 24   claimed damages for any type of mental distress sustained as a result of this incident.
 25   See, Halvorsen v. Baird, 146 F.3d 680, 686-87 (9th Cir.1998) (the court reasoned that
 26   evidence of pain and suffering from other events can be used to challenge the claims of
 27   pain and suffering in the case at bar). In addition, to the extent that plaintiff testifies
 28   that the convictions at issue in this case caused him emotional distress, defendants

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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 7 of 13 Page ID #:5602



  1   should be able to use plaintiff’s prior convictions to give context to plaintiff’s damages

  2   claims.

  3         A juror must be given some context in which to evaluate the nature and extent of

  4   plaintiff’s damages. Without testimony or introduction of the prior sentence and

  5   confinement, a juror will be left to believe plaintiff was never convicted and/or

  6   incarcerated beforehand and has always been a law-abiding person. That is patently

  7   unfair to defendants, who believe the emotional upset is far less for someone who has

  8   been to prison before, rather than a first time offender.

  9             Defendants will be using the prior for other purposes, as provided for by

 10   Rules of Evidence 404(b). Defendants will not be using to the prior conviction and

 11   incarceration to demonstrate bad character of plaintiff or his propensity to commit

 12   crimes. As such, the prior conviction and confinement should be allowed into

 13   evidence.
 14   IV.   PLAINTIFF’S PRIOR CONVICTION FOR FORCIBLE RAPE WAS THE
 15         REASON WHY PLAINTIFF WAS SENTENCED AND SERVED THE
 16         AMOUNT OF TIME IN CUSTODY HE DID.
 17         Plaintiff was incarcerated for 17 years. He was sentenced to 55 years-to-life. No
 18   doubt plaintiff will repeatedly reference these facts in order to garner sympathy from
 19   the jury. However, the reason plaintiff received such a lengthy sentence was because
 20   of his forcible rape prior conviction from 1992, a fact the defendants had nothing to do
 21   with. This prior rape counted as a “second strike” resulting in a 50 year
 22   “enhancement” to his sentence on the Teresa R. rape. Recall, plaintiff was not
 23   sentenced on the Karen P. and Edith G. sexual assaults (which were not cleared by
 24   subsequent DNA testing). Thus, in order for the jury to understand that it was
 25   plaintiff’s prior conviction and the “strike” sentencing scheme, and not the actions of
 26   the defendants, which caused such a lengthy prison term, some mention of the prior
 27
 28

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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 8 of 13 Page ID #:5603



  1   criminal history must be given to the jury1. Defendant proposes a stipulated set of

  2   facts be read to the jury to make this clear and lessen any perceived prejudice to

  3   plaintiff.

  4   V. THESE PRIORS EXPLAIN WHY HE WOULD NOT HAVE TAKEN THE

  5        WITNESS STAND IN HIS OWN DEFENSE AT TRIAL, THUS CRITICAL

  6        TO THIS JURY’S DETERMINATION OF MATERIALITY.

  7         Plaintiff’s due process violation claim in this case requires he demonstrate

  8   materiality. Kyles v. Whitley, 514 U.S. 419 (1995) mandates the jury look at the

  9   suppressed evidence in the context of the whole trial. Deputy District Attorney Robin

 10   Allen and Frank Rorie, the attorneys involved in the underlying trial are expected to

 11   testify in this case. They will explain why or why not the 10 or 11 other crime reports

 12   (at issue in this case) would have been introduced at trial, and how they would or

 13   would not have been used against the prosecution. But the key issue is whether these
 14   crime reports being introduced would have caused plaintiff to testify in his own behalf,
 15   ie., would have substantially changed the course of the trial. Defendants think not, and
 16   the reason is because of plaintiff’s prior conviction for forcible rape; plaintiff would be
 17   impeached with a prior felony conviction the moment he testified. Even if the prior
 18   was “sanitized” by the trial judge, plaintiff would have been forced to mention the
 19   charge, the court and the sentencing date. Given the prior charge was the same as the
 20   charge the jury was considering, the prior would have been devastating to plaintiff’s
 21   defense. Thus, the jury will learn the introduction of these other crime reports would
 22   not have changed the evidence presented at trial. Again, defendants would agree to a
 23   limiting instruction.
 24
 25
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 27         California Penal Code section 261 provides for a prison term of three, six or
        eight years. The prior strike results in a sentencing enhancement of that term to 25
 28     years to life, per PC 667.a1. Plaintiff received twice that term of 25 years, plus an
        additional five years, for a total sentence of 55 years to life.
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Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 9 of 13 Page ID #:5604



  1         As the Court can see, the prior conviction is highly probative and relevant to

  2   materiality, and it is not being used to show propensity or bad character of the plaintiff.

  3   Under Rule 404(b), it should be allowed into evidence in phase one of the trial.

  4   VI. PLAINTIFF’S PRIOR CONVICTION AND CRIMINAL HISTORY WAS

  5         INFORMATION KNOWN TO DEFENDANTS AND DEFENDANTS

  6         INTEND TO DEMONSTRATE DEFENDANTS DID NOT ACT WITH

  7         DELIBERATE INDIFFERENCE AND WITH MALICE TOWARDS

  8         PLAINTIFF’S CONSTITUTIONAL RIGHTS.

  9         Plaintiff’s 42 USC 1983 claim in this case requires he prove defendants acted

 10   with deliberate indifference to an accused’s rights or for the truth in suppressing the

 11   evidence. (Ninth Cir. Model Instr. 9.33A). His punitive damages claim against

 12   defendants requires he prove defendants acted with malice, oppression or reckless

 13   disregard to plaintiff’s rights. (9th Cir. Model Inst. 5.5)2
 14         Plaintiff’s experts will argue that defendants were deliberately indifferent in
 15   selecting plaintiff and did not treat plaintiff fairly in their investigation after learning of
 16   his prior conviction. In essence, plaintiff’s own experts raise the issue of plaintiff’s
 17   prior. Defendants dispute these experts can even testify at trial, but certainly if they
 18   are allowed to express such opinions, the bases of their opinions (that defendants
 19   narrowly focused their investigation and discovery obligations on plaintiff because of
 20   his prior conviction) should not be unfairly redacted such that the jury has no idea
 21   what they are talking about.
 22
 23         2
             9th Cir Model Instr. 5.5 states: Conduct is malicious if it is accompanied by ill
 24     will, or spite, or if it is for the purpose of injuring the plaintiff. Conduct is in
 25     reckless disregard of the plaintiff’s rights if, under the circumstances, it reflects
        complete indifference to the plaintiff’s safety or rights, or if the defendant acts in the
 26     face of a perceived risk that its actions will violate the plaintiff’s rights under federal
 27     law. An act or omission is oppressive if the defendant injures or damages or
        otherwise violates the rights of the plaintiff with unnecessary harshness or severity,
 28     such as by misusing or abusing authority or power or by taking advantage of some
        weakness or disability or misfortune of the plaintiff.
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 Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 10 of 13 Page ID
                                  #:5605


 1               The defendants’ knowledge of prior arrests and conviction of plaintiff

 2   demonstrate a lack of malice by the defendants. They did not just pick on some law

 3   abiding person. Their training and experience led them to believe that the suspect who

 4   they were investigating possibly could be a prior rapist, and/or someone who had not

 5   registered as a sex offender. These facts coupled with information leading to them

 6   identifying Vargas would lead a detective to believe Vargas may have resumed the

 7   predatory behavior of a sexual assault offender who wished to evade detection by

 8   intentionally failing to comply with Penal Code Section 290.

 9        Any adjudication of the reasonableness of the officers’ actions must be made

10   based upon the information known to the officers at the time of the challenged actions

11   or inactions. Devenpeck v. Alford, 543 U.S. 146, 152 (2004). It is essential to avoid

12   hindsight analysis. John v. City of El Monte, 505 F.3d 907, 911 (9th Cir. 2007)

13   (citation omitted). The plaintiff’s prior conviction for rape was known information at
14   the time.
15        Whether a defendant acted with deliberate indifference or reckless disregard "is a
16   question of fact subject to demonstration in the usual ways, including inference from
17   circumstantial evidence." Lemire v. Cal. Dep't of Corr. & Rehab., 726 F.3d 1062, 1078
18   (9th Cir. 2013) (citation omitted) (Cited by Mellen v. City of Los Angeles, 900 F.3d
19   1085, 1101 (9th Cir. 2018))
20        “Officer’s testimony (of prior criminal activity of plaintiff) was not offered to
21   establish that appellant was acting in conformity with personal character trait where it
22   was introduced so that jurors would understand legally relevant experience through
23   which officer would have filtered facts available at time he encountered appellant.
24   Morgan v. City of Chi., 822 F.3d 317 (7th Cir. 2016). Such is the case herein as
25   Defendants are being sued for punitive damages, as well as being accused of being
26   deliberately indifferent. Their experience with the plaintiff’s prior criminality is central
27   to explaining their state of mind and course of action.
28

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 Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 11 of 13 Page ID
                                  #:5606


 1        Courts have recognized that "Rule 404(b) is an inclusionary rule, allowing

 2   evidence of other crimes or acts to be admitted, except that which tends to prove only

 3   criminal disposition. United States v. Penniegraft, 641 F.3d 566, 574 (4th Cir. 2011).

 4   Thus, the prior will not be used to show bad character or propensity of plaintiff, but

 5   rather for other purposes, as allowed by 404(b).

 6   CONCLUSION

 7        For the reasons set forth above, Plaintiff’s Motion in Limine No. 2 should be

 8   denied.

 9   Dated: May 20, 2019        MICHAEL N. FEUER, City Attorney
                                JAMES P. CLARK, Chief Deputy City Attorney
10                              CORY M. BRENTE, Assistant City Attorney
11                              By:    /s/ Geoffrey Plowden                  .




                                 GEOFFREY PLOWDEN, Deputy City Attorney
12
                                Attorneys for Defendants CITY OF LOS ANGELES,
13                              LOS ANGELES POLICE DEPARTMENT, MONICA
                                QUIJANO, RICHARD TAMEZ and SCOTT SMITH
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 Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 12 of 13 Page ID
                                  #:5607


 1                      DECLARATION OF GEOFFREY PLOWDEN

 2         I, Geoffrey Plowden, declare the following to be true and correct:

 3         1.    I am an attorney at law, duly admitted to practice before the Court, and am

 4   counsel for defendants in the matter of Vargas v. City of Los Angeles. I am familiar

 5   with the file materials in this case, the underlying criminal prosecution of plaintiff, I

 6   am a former Deputy District Attorney, and have tried civil rights cases in the U.S.

 7   District Court, Central District for more than 18 years.

 8         2.    The introduction of any evidence of plaintiff’s prior conviction and

 9   incarceration will not be used to show his bad character or propensity to commit rape.

10   His character and propensity are not even at issue in this case. What are at issue in this

11   case is the defendant’s actions towards plaintiff based on the information known to

12   them at the time. At issue is also materiality, deliberate indifference, malice and

13   damages. That is what the prior will be used for.
14         3.    Defendants will be unfairly prejudiced if not allowed to introduce some
15   evidence of the plaintiff’s past criminal “bad acts.” I have tried similar cases for
16   several years and it is my experience most lay jurors have not been convicted of a
17   crime, nor served time in custody. In short, they have no context in which to evaluate
18   the emotional distress caused by such events. However, they can have some context to
19   the plaintiff’s damages if they know he has experienced a similar trauma before. It will
20   help them evaluate the nature and extent of plaintiff’s harm.
21         4.    Defendants will be unfairly prejudiced if not allowed to speak about how
22   they found plaintiff from his criminal history, which caused them to secure his
23   booking photograph, show it to the victims, take the case to the DA, etc. The jury may
24   be left with the impression they just picked Vargas off the street for no reason.
25         5.    I cannot defend the materiality, deliberate indifference and punitive
26   damages claim without referencing the prior. I expect the DA, Robin Allen, to discuss
27   it as it relates to the trial proceedings. I expect the defendant to discuss it as it relates to
28   their state of mind.

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 Case 2:16-cv-08684-SVW-AFM Document 203 Filed 05/20/19 Page 13 of 13 Page ID
                                  #:5608


 1        6.       Per Rule 609, I served notice upon plaintiff of my intent to use the prior. I

 2   have advised plaintiff I will agree to a limiting instruction any time the prior is

 3   mentioned.

 4        7.       I also suggested a stipulated set of facts be read to the jury so that the prior

 5   is not emphasized in testimony. Plaintiff wants the prior and any reference thereto

 6   struck from all phases of the trial, including the damages phase.

 7        I declare under the penalty of perjury under the laws of the United States that the

 8   foregoing is true and correct. Executed this 20th day of May, 2019, at Los Angeles,

 9   California.

10                                  /s/ Geoffey Plowden
                                   ___________________________
11                                        Geoffrey Plowden
12                                        Declarant
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